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                                 No. 23-10319
         In the United States Court of Appeals
                 for the Fifth Circuit
           WILLIAM T. MOCK; CHRISTOPHER LEWIS;
FIREARMS POLICY COALITION, INCORPORATED, a nonprofit corporation;
             MAXIM DEFENSE INDUSTRIES, L.L.C.,
                                                         Plaintiffs-Appellants,
                                          v.

 MERRICK GARLAND, U.S. Attorney General, in his official capacity as Attorney
    General of the United States; UNITED STATES DEPARTMENT OF JUSTICE;
        BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES;
  STEVE DETTELBACH, in his official capacity as the Director of the Bureau of
                 Alcohol, Tobacco, Firearms and Explosives,
                                                         Defendants-Appellees.

                On Appeal from the United States District Court
            for the Northern District of Texas, Fort Worth Division
                          Case No. 4:23-cv-00095-O

         PLAINTIFFS-APPELLANTS’ OPPOSED MOTION
     FOR CLARIFICATION OF INJUNCTION PENDING APPEAL

    Cody J. Wisniewski                              Erik S. Jaffe
    FPC ACTION FOUNDATION                            Counsel of Record
    5550 Painted Mirage Road, Suite 320             Joshua J. Prince
    Las Vegas, NV 89149                             SCHAERR | JAFFE LLP
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    cwi@fpchq.org                                   Telephone: (202) 787-1060
                                                    Facsimile: (202) 776-0136
                                                    ejaffe@schaerr-jaffe.com
                                                    jprince@schaerr-jaffe.com
                       Counsel for Plaintiffs-Appellants
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                 CERTIFICATE OF INTERESTED PERSONS

                                  No. 23-10319
                 William T. Mock, et al. v. Merrick Garland, et al.

      I certify that the following persons and entities as described in the fourth

sentence of Circuit Rule 28.2.1 have an interest in the outcome of this case. These

representations are made so the judges of this Court may evaluate possible

disqualification or recusal:

1)    Plaintiffs-Appellants:

      William T. Mock

      Christopher Lewis

      Maxim Defense Industries, LLC, a limited liability company, is a wholly
      owned subsidiary of Maxim Defense Group, Inc., a Florida S-Corp. Maxim
      Defense Group, Inc., has no parent corporation and there is no publicly held
      corporation that owns 10% or more of its stock.

      Firearms Policy Coalition, Inc., a nonprofit corporation, has no parent
      corporation and there is no publicly held corporation that owns 10% or more
      of its stock.

2)    Defendants-Appellees:

      Merrick Garland, in his official capacity as Attorney General of the
      United States

      United States Department of Justice

      Steve Dettelbach, in his official capacity as the Director of the Bureau of
      Alcohol, Tobacco, Firearms and Explosives

      Bureau of Alcohol, Tobacco, Firearms and Explosives



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3)   Counsel for Plaintiffs-Appellants:

     COOPER & SCULLY PC
     R. Brent Cooper
     Benjamin David Passey

     FPC ACTION FOUNDATION
     Cody J. Wisniewski

     SCHAERR | JAFFE LLP
     Erik S. Jaffe
     Joshua J. Prince

4)   Counsel for Defendants-Appellees:

     Brian M. Boynton
     Brigham J. Bowen
     Benjamin Lewis
     Sean Janda
     Jody Dale Lowenstein
     Michael Drezner
     Taylor Pitz
     Faith E. Lowry

     United States Department of Justice

                                    /s/ Erik S. Jaffe
                                    Erik S. Jaffe

                                    Counsel of Record for
                                    Plaintiffs-Appellants




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      Earlier today this Court granted Appellants’ motion for an injunction pending

appeal “as to the Plaintiffs in this case.” ECF No. 52-2 (Appendix A attached).

Appellants respectfully request clarification before the Final Rule goes into effect

on May 31, 2023, as to the scope of that injunction to avoid any inadvertent

violations of the Final Rule by persons who are uncertain if they are protected by the

injunction. The government opposes this motion and plans to file an opposition.

      In their motion for an injunction pending appeal, Appellants noted that relief

as to Maxim Defense, but excluding its customers and intermediaries, would not

allow Maxim Defense to sell braced pistols via federal firearms licensees (“FFLs”)

to its customers. Mot. 21-22 (ECF No. 25-1); accord App. 139-143, 233 (ECF No.

26). Maxim Defense thus requests clarification whether relief as to the Plaintiffs

includes injunctive relief for those individuals who purchase or accept transfer of

braced pistols from Maxim Defense, those FFLs necessary to facilitate transfer, and

those FFLs that stock and sell Maxim Defense’s braced pistols (i.e., Maxim

Defense’s customers and intermediaries) such that Maxim Defense may continue

with sales in compliance with existing federal firearms law as it did prior to the

publication of the Final Rule. App. 141 (ECF No. 26) (“[A]n injunction limited to

Maxim Defense will not afford Maxim Defense any practical relief.”).

      Similarly, Appellants noted that Individual Plaintiffs’ family members could

face constructive possession charges by being in the same house as Individual
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Plaintiffs. Mot. 22 (ECF No. 25-1). Appellants thus request clarification whether

relief extends to family members who might be present in the house with Individual

Plaintiffs possessing braces or braced pistols.

      Finally, Plaintiff FPC filed this lawsuit on behalf of its members, and noted

that its individual and business members face comparable risks and restrictions to

Maxim Defense and Individual Plaintiffs, all of who are members of FPC. Mot. 22

(ECF No. 25-1); accord App. 142 (ECF No. 26) (“FPC brings this suit on behalf of

[its] members to vindicate its members’ constitutionally and statutorily protected

rights.”). Appellants thus request clarification as to whether the injunction extends

to Plaintiff FPC’s existing members.

      Absent such clarification before the time when the Final Rule goes into effect,

many persons interacting or residing with Appellants, as well as members and

customers of the organizational Appellants, risk inadvertent violation of the Final

Rule and potential prosecution, and Appellants themselves will be unsure of the

scope of the relief provided and how they can act to mitigate their otherwise

irreparable injuries.




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                                  Respectfully submitted,

                                  /s/ Erik S. Jaffe
                                  Erik S. Jaffe
                                    Counsel of Record
                                  Joshua J. Prince
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                                  Washington, DC 20006
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                                  Las Vegas, NV 89149
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                                  cwi@fpchq.org

                                  Counsel for Plaintiffs-Appellants


Dated: May 23, 2023




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                         CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby certify that

on May 23, 2023, I electronically filed the foregoing motion for clarification with

the Clerk of the Court for the United States Court of Appeals for the Fifth Circuit by

using the CM/ECF system, which will accomplish service on counsel for all parties

through the Court’s electronic filing system.

                                       /s/ Erik S. Jaffe
                                       Erik S. Jaffe



                      CERTIFICATE OF CONFERENCE
      I hereby certify that on May 23, 2023, counsel for Plaintiffs-Appellants

conferred with counsel for Defendants-Appellees, about the foregoing motion.

Defendants-Appellees oppose the relief requested in this motion and will file an

opposition.

                                           /s/ Erik S. Jaffe
                                           Erik S. Jaffe

Dated: May 23, 2023
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                      CERTIFICATE OF COMPLIANCE

      This motion complies with the type volume limitation of Fed. R. App. P.

27(d)(2) because it contains 423 words.

      This brief also complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and 5th Cir. R. 32.1 and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface using

Microsoft Word in 14-point Times New Roman font.

      Additionally, I certify that (1) any required redactions have been made in

compliance with 5th Cir. R. 25.2.13; and (2) the document has been scanned with

the most recent version of Microsoft Defender virus detector and is free of viruses.

                                          /s/ Erik S. Jaffe
                                          Erik S. Jaffe

Dated: May 23, 2023
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     APPENDIX A
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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                     TEL. 504-310-7700
CLERK                                                          600 S. MAESTRI PLACE,
                                                                       Suite 115
                                                              NEW ORLEANS, LA 70130

                                May 23, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-10319       Mock v. Garland
                         USDC No. 4:23-CV-95

Enclosed is an order entered in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Lisa E. Ferrara, Deputy Clerk
                                   504-310-7675
Mr.   Ryan Baasch
Mr.   Richard Brent Cooper
Mr.   Erik Scott Jaffe
Mr.   Sean Janda
Mr.   Benjamin Lewis
Mr.   Jody Dale Lowenstein
Ms.   Karen S. Mitchell
Mr.   Joshua James Prince
Mr.   Stephen Dean Stamboulieh
Mr.   Cody J. Wisniewski
Ms.   Abby Christine Wright
P.S. to all counsel: An expedited briefing schedule will issue
under separate cover. Paper copies of all briefs will be due for
filing immediately after electronic filing.
  Case: 23-10319           Document: 57          Page: 11        Date Filed: 05/23/2023



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            United States Court of Appeals
                 for the Fifth Circuit
                                     ___________

                                      No. 23-10319
                                     ___________

William T. Mock; Christopher Lewis; Firearms Policy
Coalition, Incorporated, a nonprofit corporation; Maxim
Defense Industries, L.L.C.,

                                                                   Plaintiffs—Appellants,

                                           versus

Merrick Garland, U.S. Attorney General, in his official capacity as
Attorney General of the United States; United States Department
of Justice; Bureau of Alcohol, Tobacco, Firearms, and
Explosives; Steven Dettelbach, in his official capacity as the
Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives,

                                            Defendants—Appellees.
                   ______________________________

                   Appeal from the United States District Court
                       for the Northern District of Texas
                             USDC No. 4:23-CV-95
                   ______________________________

                            UNPUBLISHED ORDER

Before Haynes,1 Engelhardt, and Oldham, Circuit Judges.



        1
          Judge Haynes concurs only in part: she concurs in the order of an expedited appeal.
With respect to the request for a preliminary injunction pending appeal, as a member of the
motions panel, she would grant an administrative stay to the plaintiffs in this case as to the
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                                           No. 23-10319




Per Curiam:
         IT IS ORDERED that the appeal is EXPEDITED to the next
available Oral Argument Calendar.
         IT IS FURTHER ORDERED that Appellants’ Opposed Motion
For a Preliminary Injunction Pending Appeal is GRANTED as to the
Plaintiffs in this case. See Fed. R. App. P. 8; Nken v. Holder, 556 U.S.
418 (2009).




challenged Final Rule for a brief period of time and defer the question of the injunction pending
appeal to the oral argument merits panel which receives this case.




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